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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                               LAKE CHARLES DIVISION

THE PARISH OF CAMERON                               *      CIV. ACTION NO. 2:16CV0536
                                                    *
VERSUS                                              *      JUDGE MINALDI
                                                    *
BEPCO, L.P., ET AL.                                 *      MAGISTRATE JUDGE KAY


      CORPORATE DISCLOSURE STATEMENT OF DEFENDANT BEPCO, L.P.

          In compliance with Rule 7.1 of the Federal Rules of Civil Procedure, Defendant BEPCO,

L.P. (“BEPCO”) makes the following disclosure statement:

          The parent entities of BEPCO are Keystone Group, L.P., LMBI, L.P., SRBI, L.P., and

Thru Line, L.P. (as limited partners); and BEPCO Genpar, L.L.C. (as general partner). No

publicly held corporation owns more than ten percent of BEPCO’s partnership interests.

                                                        Respectfully submitted,

                                                        /s/ Kelly Ransom__________________
                                                        Loulan J. Pitre, Jr. (Bar No. 17749)
                                                        Kelly Ransom (Bar No. 31926)
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                                  CERTIFICATE OF SERVICE

        Undersigned counsel hereby certifies that the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system on this 17th day of May, 2016, and that electronic

notice of this filing will be sent to all counsel of record.

                                        /s/     Kelly Ransom




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